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                   UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF NEW YORK


ELIZABETH SINES, SETH WISPELWEY,
MARISSA BLAIR, APRIL MUÑIZ,
MARCUS MARTIN, NATALIE ROMERO,
CHELSEA ALVARADO, JOHN DOE, and
THOMAS BAKER,
                                       Misc. Case. No. 20-241
                     Movants,
                                       Related to Civil Action No. 3:17-cv-00072-
                                       NKM, pending in the United States District
                                       Court for the Western District of Virginia,
                                       Charlottesville Division

v.

MILO YIANNOPOULOS,
                     Respondent.




       MOVANTS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION
     TO COMPEL MILO YIANNOPOULOS TO COMPLY WITH SUBPEONA
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         Movants move pursuant to Rule 45(d) 1 of the Federal Rules of Civil Procedure to compel

Respondent Milo Yiannopoulos to produce documents responsive to a November 5, 2019

subpoena issued in connection with the pending action of Elizabeth Sines et al. v. Jason Kessler,

et al., No. 3:17-cv-00072 (W.D. Va.) (NKM).

                                      PRELIMINARY STATEMENT

         Milo Yiannopoulos is openly defying a duly issued subpoena issued to him in connection

with a significant civil rights litigation that is shortly heading to trial in the Western District of

Virginia. Specifically, last November, Yiannopoulos received a subpoena seeking materials in his

possession that are relevant to claims being litigated against the white supremacists and neo-Nazis

that ravaged Charlottesville, VA during the “Unite the Right” rally in August 2017. Yiannopoulos

had at one point been considered “on the same team” as certain of the organizers of the

Charlottesville event, but they subsequently had a falling out, and amidst discovery in the Virginia

litigation, Yiannopoulos publicly and proudly released highly relevant material to the plaintiffs’

claims. Shortly thereafter, the plaintiffs issued Yiannopoulos a non-party Rule 45 subpoena, and

Yiannopoulos boasted the same day that he would be “delighted to supply everything in [his]

vault,” and that he would “be in touch soon.” He later confirmed to the plaintiffs’ counsel that he

“had just looked into the basis for the lawsuit and I think I can help you more than you might

realize. We can discuss when I see you.”




1
  Rule 45(d)(2)(B)(i) provides that where the recipient of a Rule 45 subpoena makes an objection, “[a]t any time, on
notice to the commanded person, the serving party may move the court for the district where compliance is required
for an order compelling production or inspection.” A motion under this rule is proper even where, as here, the recipient
of the subpoena made no formal objections that complied with Rule 45(d)(2)(B). See U.S. ex rel. Ortiz v. Mt. Sinai
Hosp., 169 F. Supp. 3d 538, 543-44 (S.D.N.Y. 2016). The Movants provided Yiannopoulos advance notice of this
motion on June 24, 2020. See Declaration of Michael L. Bloch (“Bloch Decl.,” filed contemporaneously herewith)
¶ 21. To the extent the Court would prefer to construe this motion as one for sanctions for non-compliance under Rule
45(g), see Jalayer v. Santiago, No. 10-cv-2285, 2016 WL 5477600, at *2-3 (E.D.N.Y. Sept. 29, 2016), Movants have
no objection.

                                                           1
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       Yiannopoulos made similar representations in person to the plaintiffs’ counsel, describing

in specific detail the materials he uniquely possessed that were directly relevant to certain of the

defendants and their roles in planning the Charlottesville attacks. But Yiannopoulos’ production

date came and went, and he produced nothing, even though the plaintiffs narrowed the scope of

the subpoena and voluntarily extended the production deadline twice.              The day before

Yiannopoulos’ third and final deadline, he abruptly changed tune. Despite bragging publicly and

privately for months about the responsive material he possessed, Yiannopoulos now claimed he

was not in possession of a single document responsive to the subpoena. He then made half-hearted

references to supposed privileges that have no applicability here. Months later, Yiannopoulos

released on YouTube another video from his “vault” that was plainly responsive to the subpoena,

and bragged that there is “much, much more to come,” a representation he again confirmed just

last week, squarely undermining his representation that he possessed no such material.

                                        BACKGROUND

I.     The Movants Sue the Organizers of the Unite the Right Rally in Charlottesville, VA
       Under the Ku Klux Klan Act, and the Defendants—Including Acquaintances of
       Yiannopoulos—Resist Compliance with Discovery

       The underlying litigation relevant to this motion concerns the Unite the Right rally in

Charlottesville, VA on August 11 and 12, 2017 (“UTR”). UTR was planned and operationalized

by the defendants—white supremacists and their respective organizations—ostensibly to protest

the removal of a statue of Robert E. Lee and to display the supposed strength and unity of the white

supremacist movement. But, as the plaintiffs in the underlying litigation have alleged, and as

discovery has borne out, the defendants’ principal goal was to engage in acts of violence based on

animus towards specific protected classes. In this, the defendants succeeded. UTR was a weekend

full of racially motivated violence by the defendants, meticulously planned on various social media

platforms. On August 11, defendant Richard Spencer—one of the key ideological and operational
                                                 2
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leaders of UTR—led a procession of torch-wielding white supremacists chanting anti-Semitic

slogans such as “Jews will not replace us” through the campus of the University of Virginia to

encircle a group of students and counter-protesters, who the white supremacists attacked with

torches and caustic chemicals. On August 12, the defendants unleashed a wave of violence on the

City of Charlottesville, culminating in the most prominent act of terror by defendant James Alex

Fields Jr., who drove his car into a crowd of counter-protesters, killing Heather Heyer and injuring

many others, including several of the plaintiffs. Defendant Fields is now serving a life-sentence

following convictions for first-degree murder and federal hate crime charges.

       On October 11, 2017, the plaintiffs (Movants here)—individuals injured at UTR—filed

suit against the principal organizers of UTR. The plaintiffs alleged that the defendants conspired

to violate the plaintiffs’ civil rights in violation of the Civil Rights Act of 1871, 42 U.S.C. §

1985(3), also known as the Third Ku Klux Klan Act (the “KKK Act”). As the district court noted,

the KKK Act requires the plaintiffs to establish the following elements:

           (1) A conspiracy of two or more persons, (2) who are motivated by a
           specific class-based, invidiously discriminatory animus to (3) deprive
           the plaintiff[s] of the equal enjoyment of rights secured by the law to
           all, (4) and which results in injury to the plaintiff[s] as (5) a consequence
           of an overt act committed by the defendants in connection with the
           conspiracy.

Sines v. Kessler, 324 F. Supp. 3d 765, 780 (W.D. Va. 2018) (quotation marks omitted).

       The defendants have contended, generally speaking, that their actions at UTR did not

amount to a conspiracy against the plaintiffs’ civil rights, and that their statements were protected

speech under the First Amendment. But at the Rule 12(b)(6) stage, the district court broadly

rejected both arguments as to all but one defendant. Specifically, the “Court conclude[d] [that]

Plaintiffs have, for the most part, adequately alleged that Defendants formed a conspiracy to hurt




                                                  3
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black and Jewish individuals, and their supporters because of their race at the August 11th and

12th events.” Id. at 797-98.

         Following the motion to dismiss decision, the case proceeded to discovery, which is

scheduled to end on July 24, 2020, three months ahead of the currently scheduled trial date of

October 26, 2020. The discovery process has been lengthy and challenging, characterized by

staunch resistance and widescale destruction of evidence by many of the defendants. Indeed, three

defendants, Elliott Kline, Matthew Heimbach, and Vanguard America, “did nothing” in response

to the plaintiffs’ discovery requests and “disobeyed not one, but four ‘court orders compelling

production of the same material in [their] control’” over the course of “eighteen months.” No. 17-

cv-00072, Dkt. No. 539, 2019 WL 3767475 at *13 (W.D. Va. Aug. 9, 2019). This pattern of

refusal forced the court to sanction the defendants and to subsequently imprison defendant Kline

for contempt. See No. 17-cv-00072, Dkt. No. 610 (Aug. 9, 2019).

II.      Amidst Discovery in the Underlying Litigation, Milo Yiannopoulos Publicly
         Releases Evidence Highly Relevant to the Plaintiffs’ Claims and the Plaintiffs Issue
         Him a Subpoena

         Respondent Milo Yiannopoulos is a provocative, far-right commentator and public speaker

who has been viewed by the “alt-right” as sympathetic to its movement. 2                     3
                                                                                                 For example, while


2
  As made plain throughout the operative complaint in the underlying litigation, “alt-right” is a term used by the
defendants—including those who organized UTR—to discuss their movement. For example: (i) defendant Spencer’s
online publication is called “altright.com,” SAC ¶ 21, which he used to solicit and advise attendees of UTR, No. 17-
cv-00072, Dkt. 557 (“SAC”) ¶¶ 86, 91, 119 ; (ii) defendant Eli Mosley, a key organizer of UTR, has described himself
as the “command soldier major of the ‘alt-right,’” SAC ¶ 29; (iii) in the May 13, 2017 march that was a precursor to
UTR, certain defendants carried “altright.com branded signs,” SAC ¶ 49; (v) defendants Andrew Anglin and Robert
Ray published an article days before UTR noting that UTR “will serve as a rallying point and battle cry for the rising
Alt-Right movement,” SAC ¶ 61; (vi) the online platform Discord, on which defendants did most of the principal
planning for UTR, was “for closed, top super secret communications intended for the elite inner circle of the alt-right,”
SAC ¶ 71; and (vii) defendant Christopher Cantwell referred to UTR as an “alt-right protest,” SAC ¶ 302.
3
  It appears that Yiannopoulos has an affiliation with Censored.tv (formerly FreeSpeech.tv), a “conservative streaming
site” that was recently banned by Facebook and Instagram. See Facebook ‘Link-Bans’ Conservative Streaming Site
‘Censored.TV’           Featuring         Gavin         McInnes,         Breitbart       (Feb.        8,         2020),
https://www.breitbart.com/tech/2020/02/08/facebook-link-bans-conservative-streaming-site-censored-tv-featuring-
gavin-mcinnes/.

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working for the “Breitbart News Network” prior to his resignation in February 2017, Yiannopoulos

co-authored a March 29, 2016 article titled: “An Establishment Conservative’s Guide to the Alt-

Right,” Ex. 1, 4 which defendant Spencer credited after UTR as “present[ing] us in a palatable

manner,” Ex. 2 at 18:30–18:53. And in July 2016, Spencer, along with numerous other influential

and self-professed members of the alt-right, attended a party thrown by Yiannopoulos to celebrate

the nomination of Donald Trump, with Spencer subsequently commenting that it “was a moment

when we were all on the same team.” Ex. 3 at 3:10–4:10.

           At some point, however, Yiannopoulos and Spencer had a falling out. Further to their feud,

on November 3, 2019, while discovery in the underlying litigation was ongoing, Yiannopoulos

publicly released an audio recording of Spencer ranting to several co-conspirators in the immediate

aftermath of UTR. As Yiannopoulos boasted:

                     Leaked audio of white nationalist Richard Spencer, published here
                     for the first time, shows him fuming after the death of Charlottesville
                     counter-protester Heather Heyer. In the recording, Spencer is heard
                     raging against Jews and blacks. “My ancestors fucking enslaved
                     those little pieces of fucking shit,” Spencer is heard shouting on the
                     recording. “They don’t do this to fucking me. We’re going to
                     fucking ritualistically humiliate them.”

                     “Little fucking kikes,” Spencer is heard screaming in a terrifying
                     minute-long rant. “They get ruled by people like me. Little fucking
                     ocatroons.” A source close to Spencer confirmed to FreeSpeech.tv
                     that the audio was recorded in Charlottesville at an “emergency
                     meeting” Spencer assembled immediately after he learned of
                     Heather Heyer’s death. It was not clear why Spencer was blaming
                     Jews and black people for the death.

Ex. 4. Further, the audio recording that Yiannopoulos released depicts Spencer declaring that he

and his co-conspirators “are coming back here like a fucking hundred times,” and that we “are

going to destroy this fucking town.” Ex. 5.



4
    Citations to “Ex. [_]” refer to the exhibits attached to the Declaration of Michael L. Bloch.

                                                             5
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         The recording of Spencer that Yiannopoulos released on November 3, 2019 provided key

support for a number of elements the plaintiffs will have to prove to establish their claims under

the KKK Act, while dramatically undermining some of Spencer’s asserted defenses. At a

minimum, the recording forcefully illustrates the requisite discriminatory animus the plaintiffs

must prove under the KKK Act. Additionally, Spencer maintains that he “was not an organizer of

either the August 11 or 12 events,” and that he was simply “invited as [a] speaker and participant.”

Ex. 6 at 19. But the evidence that Yiannopoulos released on November 3, 2019 suggests, to the

contrary, that Spencer had a leadership role in UTR, and that he had authority to convene meetings

and organize further demonstrations. 5 In the recording, Spencer urges the group to return to

Charlottesville “like a fucking hundred times” in order to “ritualistically humiliate them,” which

was met with the audible approval of the other potential co-conspirators. Ex. 5 at 00:00–00:15.

As promised, Spencer indeed led a subsequent rally in Charlottesville later that year. See Ex. 7 at

00:50–1:05. In a segment of an October 9, 2017 podcast titled “Spencer Strikes” on the “Alt-Right

Politics podcast,” Spencer reinforced his leadership role and predicted that “[w]e can expect a lot

more events like this.” Ex. 7 at 1:50–2:00.

         Upon learning that Yiannopoulos possessed this material highly relevant to the underlying

litigation, the plaintiffs served Yiannopoulos with a Rule 45 document subpoena on November 5,

2019 (the “Subpoena”). See Ex. 8. The Subpoena required Yiannopoulos to produce by 5:00 p.m.

on December 5, 2019 at the law offices of Kaplan Hecker & Fink LLP at 350 Fifth Avenue, New

York, NY 10118 the following:




5
 In addition, Yiannopoulos subsequently represented that present during Spencer’s post-UTR rant were several other
defendants, including, for example, defendant Kline, Bloch Decl. ¶ 14.c , a former leader of defendant Identity Evropa
and one of UTR’s principle organizers.

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            1. All documents concerning the Underlying Action.

            2. All documents and communications concerning any rally or event on August 11 or
               12, 2017 in Charlottesville, Virginia, including but not limited to all documents and
               communications that anticipated, planned, publicized, discussed, reported on, or
               otherwise concern such rally or event.

            3. All documents and communications concerning Richard Spencer, including but not
               limited to all audio and video recordings that contain communications with or by
               Richard Spencer.

Ex. 8 Attach. A at 7.

        The Subpoena also notified Yiannopoulos that if he had any objections to the Subpoena,

he was required to serve written objections to the plaintiffs’ counsel within fourteen days of service

of the Subpoena, or November 19, 2019. Ex. 8 at 3.

III.    Yiannopoulos Initially Claims He Was Eager to Comply with the Subpoena, and
        Confirms that He Has Responsive Material, but Subsequently—Months After His
        Production Deadline—Abruptly Reverses Course and Announces That He Will Not
        Comply

         At first, Yiannopoulos purported to be eager to comply with the Subpoena. Indeed, the

same day that the Subpoena was served, Yiannopoulos bragged on his public Telegram channel, 6

in reaction to receipt of the Subpoena, that he was “delighted to supply everything in [his] vault

on the odious Richard Spencer,” and that he would “be in touch soon.” Ex. 9. And on December

3, 2019—two days before his deadline to produce documents pursuant to the Subpoena (and two

weeks after his time to serve objections to the Subpoena)—Yiannopoulos stated on a live internet

talk show (The Ralph Retort) that he was planning to release additional documents regarding

Spencer. Indeed, as he explained in vivid terms, the audio released on November 3, 2019 was just

the tip of the iceberg:




6
 Telegram is an encrypted instant messaging and social media platform, and Yiannopoulos has approximately 17,800
subscribers to his main channel t.me/MiloOfficial. His username is @miloinc.

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               The audio I dropped of him screaming and ranting about the
               consequences to him of this death [of Heather Heyer], is but one in
               a large catalogue of things that I have about Richard Spencer which
               I will be slowly and excruciatingly dripping out over the next
               decade. I have never met a grudge I don’t like. I have an external
               hard drive—I’ll show it to you now.

               [Yiannopoulos retrieves the hard drive and displays it to the camera]

               This is called The Vault, this is the vault. This has shit on everyone
               you have ever heard of. Video, pictures, emails, audio, text
               messages, phone calls. Anything you have ever really wanted to
               know about every public figure I have ever encountered, most of the
               conversations I’ve had with people when I’ve been in single party
               consent state, recorded, archived. I have shit on everyone and I’m
               now in a position in my career where I’m perfectly happy to start
               dropping it all, so I have a lot of crap on Richard Spencer and
               everybody else. Maybe there is a reason to sign up for Telegram
               after all. So watch this space.

Ex. 10 at 4:05–5:18.

       Notwithstanding these public representations about the “large catalogue” of evidence that

he had, and despite his stated intention to “be in touch soon,” Yiannopoulos did not at that time

contact the plaintiffs, did not exercise his right to move or quash the Subpoena, and did not produce

any documents by the December 5th deadline. And on December 6, 2019, the plaintiffs’ counsel

notified Yiannopoulos that his “time to comply has elapsed. We have not heard from you or

received any materials in response to our subpoena,” and that if his “intention [was] to resist

compliance, we intend to seek to enforce the subpoena.” Ex. 11. The plaintiffs’ counsel

nevertheless represented that he was available should Yiannopoulos want “to discuss prompt

compliance.” Ex. 11.

       Yiannopoulos responded on December 6, 2019, confirming that he remained eager to

comply with the Subpoena. Indeed, he represented to the plaintiffs’ counsel that he “had just

looked into the basis for the lawsuit and I think I can help you more than you might realize. We

can discuss when I see you.” Ex. 11. In light of these representations, the plaintiffs’ counsel

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agreed to extend Yiannopoulos’ production deadline and ultimately met with Yiannopoulos in

person on December 18, 2019 at the plaintiffs’ counsel’s New York office. See Ex. 12; see also

Bloch Decl. ¶ 14.

        During the December 18th meeting, Yiannopoulos made multiple, specific representations

regarding the responsive materials that he possessed and would produce, including as to their

content, format, and length. To start, Yiannopoulos represented that he possessed between twenty

and thirty distinct audio recordings that ranged in length from ten minutes to two hours. See Bloch

Decl. ¶ 14.a. He specifically claimed that he had recordings of Spencer with his lieutenants, which

included planning sessions of them related to UTR that can be best described as spoiling for a

fight. See Bloch Decl. ¶ 14.a. Yiannopoulos also specifically represented that he possessed a

video of Spencer making a Nazi salute. See Bloch Decl. ¶ 14.b. According to Yiannopoulos, and

consistent with his December 3, 2019 description of the format of the materials that he possessed,

all of the material was at home, on an external hard drive. See Bloch Decl. ¶ 14.d.

        Although Yiannopoulos made no mention of any objection to the nature of the documents

requested by the Subpoena, he did represent that in his view the scope of the Subpoena was too

large and that he did not know how to answer all of it. Bloch Decl. ¶ 14.e. 7 Consequently, and on

Yiannopoulos’ representation that he possessed and would produce evidence that was centrally

relevant to the plaintiffs’ claims, the plaintiffs agreed to narrow the scope of their request. Bloch

Decl. ¶ 14.f. Specifically, the plaintiffs’ counsel ultimately agreed to narrow the requests to the

following:




7
  Yiannopoulos also asked the plaintiffs’ counsel how he would go about making the production if the FBI did not
want him to. Bloch Decl. ¶ 16.f.

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           1. All audio and visual recordings that you have in your possession relating to the
              Unite the Right event that took place in Charlottesville, Virginia on August 11 and
              12, 2017, and which were recorded in Virginia.

           2. Any other communications between you and any of the defendants in Sines v.
              Kessler that relate to Unite the Right.

See Ex. 13.

       Yiannopoulos followed up with the plaintiffs’ counsel on December 29, 2019, asking for a

letter or amended subpoena that would memorialize the revised scope of the Subpoena, noting that

“I will require a copy of the letter or amended subpoena before we can proceed further.” Ex. 14.

The plaintiffs’ counsel documented the revised scope of the Subpoena in a December 31, 2019 e-

mail, noting the parties’ agreement that Yiannopoulos would produce the responsive materials by

January 17, 2020. See Ex. 14. Although Yiannopoulos confirmed that this e-mail was “sufficient,”

he provided that he “would be more comfortable with it on your letterhead via PDF, or, failing

that, an assurance that a copy has been sent by mail.” Ex. 14. The plaintiffs’ counsel provided a

PDF letter documenting the narrowed scope of the Subpoena—and the responsive date of January

17, 2020—on Kaplan Hecker & Fink LLP letterhead on January 9, 2020. Ex. 13.

       Yiannopoulos, however, failed to make any production by the revised negotiated

production deadline of January 17, 2020. And on January 20, 2020, the plaintiffs’ counsel notified

Yiannopoulos that “the date we discussed for your production (January 17) has passed. I’m

available to discuss if you have questions. Please let us know the status of your production.

Thanks.” Ex. 14. Receiving no response, the plaintiffs’ counsel again contacted Yiannopoulos on

January 24, 2020, stating: “Milo, I’m concerned I haven’t heard from you and it is now a week

beyond the date we allowed for compliance with the subpoena. Please let us know the status of

your production.” Ex. 14. Yiannopoulos responded on January 25, 2020, noting:




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                 Hi Michael. Thanks for the update. So far I’ve spent $3,500 on
                 travel and associated expenses to review materials on your behalf.
                 But many questions remain about the FBI’s desire to acquire them
                 exclusively.
                 I am meeting my contacts at the Bureau next week in person and
                 will be in a better position to answer you after that. As I’m sure you
                 will understand I have been obliged to prioritize federal law
                 enforcement over your civil action.

Ex. 14. On January 26, 2020, the plaintiffs’ counsel responded, reiterating the relevance of the

requested materials, noting the lack of burden in their production, and reminding Yiannopoulos

that the plaintiffs had been willing in good-faith to negotiate a more narrow request “based on your

representations that you were interested in voluntarily complying with the subpoena.” Ex. 14. The

note continued: “Assuming that is still your intention, I am willing to extend the date for your

compliance a final time to this Friday, January 31. Beyond that, we will need to take steps to

enforce the subpoena.” Ex. 14.

          And, on January 30, 2020, just one day before Yiannopoulos’ third and final production

deadline, Yiannopoulos represented for the first time that he would not in fact be making any

productions to plaintiffs:

                 Upon researching this matter thoroughly on your behalf, and after
                 discussion with the law enforcement agenc(y/ies) to which I
                 previously alluded, and to whom, as we discussed, I am compelled
                 to give deference, priority and in most cases exclusivity, and in light
                 of the agreed and newly contracted scope of your subpoena, I am
                 writing to let you know I will not be producing any documents or
                 recordings as I possess nothing that falls within the scope of our
                 discussion.

Ex. 15.

          On February 7, 2020, the plaintiffs’ counsel sought clarification given Yiannopoulos’

previous eagerness to comply with the Subpoena and his representations that he indeed had

“content responsive to our subpoena, including audio recordings of planning discussions relating


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to the Unite the Right rally involving defendants in our case.” Ex. 15. The plaintiffs’ counsel

also noted once more that the plaintiffs had more than accommodated any burden concern by

agreeing to narrow the scope of the Subpoena. Finally, the plaintiffs’ counsel requested more

information as to which law enforcement entity directed Yiannopoulos not to comply with the

Subpoena, and requested further explanation by February 12, 2020 for any “legal basis to resist

compliance.” Ex. 15.

          On February 12, 2020, Yiannopoulos responded to the plaintiff’s counsel:

                 Thanks, Michael. I am happy to clarify. Having spent time and
                 money researching this for you, I have nothing to produce relevant
                 to the planning of “Unite the Right.” I was under the impression I
                 was in possession of recordings of Richard Spencer and others, but
                 was mistaken. I have consulted the source of these recordings, who
                 reminded me that they were played to me, but I did not retain copies
                 of them. Other recordings in my possession do not relate to Unite
                 the Right or the planning of physical violence by any of the named
                 defendants. Regarding anything else I possess tangentially related
                 to your case, such as emails, I am asserting journalistic privilege,
                 which enjoys broad protection in the state of New York.

Ex. 15.

          This was the last communication the plaintiffs’ counsel has had with Yiannopoulos.

IV.       After Representing to the Plaintiffs on February 12, 2020 That He Has No Responsive
          Materials, Yiannopoulos Publicly Releases Responsive Material on April 6, 2020 and
          Promises More.

          Despite Yiannopoulos’ sudden representation to the plaintiffs’ counsel that he did not have

non-privileged material responsive to the Subpoena, Yiannopoulos subsequently released to the

public via YouTube on April 6, 2020, a video recording of defendant Spencer leading a group of

white supremacists in Charlottesville on May 13, 2017—including defendants Kline and

Heimbach 8—in a chant of ‘Seig Heil’ while giving Spencer a Nazi salute. See Ex. 16. As alleged


8
  Matthew Heimbach is the former leader of both defendant organizations the Traditionalist Worker Party and the
Nationalist Front.

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in the plaintiffs’ complaint, this May 13, 2017 event, referred to by its participants as

“Charlottesville 1.0,” was a precursor event to UTR, which they referred to as “Charlottesville

2.0.” See SAC ¶¶ 49-54. And a few days after Yiannopoulos released the recording of the May

13, 2017 event, Yiannopoulos reposted the video alongside his previously published audio of

Spencer and claimed that there is “much, much more to come.” Ex. 17. Once again, on June 13,

2020, Yiannopoulos announced, amidst specific and detailed references to this litigation: “A lot

more Richard Spencer drops still to come from me. Keep an eye out.” Ex. 18.

                                          ARGUMENT

       This Court should compel Yiannopoulos to comply with the Subpoena because (i) he has

waived any objection to the Subpoena, and (ii) regardless, the objections he has half-heartedly

raised have no merit. In short, Yiannopoulos’ objections are too late and too little.

I.     Yiannopoulos Has Waived Any Objection to the Subpoena

       “Objections to a non-party subpoena are waived if not made within the time specified by

Rule 45[d](2)(B), that is, generally fourteen days.” Schweizer v. Mulvehill, 93 F. Supp. 2d 376,

412 (S.D.N.Y. 2000). Here, Yiannopoulos was required to serve any written objections to the

Subpoena by November 19, 2019. But not only did Yiannopoulos fail to serve objections to the

Subpoena by that date, he subsequently and repeatedly expressed eagerness to comply with the it,

both publicly and to the plaintiffs’ counsel. Indeed, even after his December 5, 2019 production

deadline, Yiannopoulos represented to the plaintiffs that “I can help you more than you might

realize.” Ex. 11 (emphasis added). In fact, Yiannopoulos raised no objections to the Subpoena in

any form until January 25, 2020, almost three months after he was served and nearly a month after

the plaintiffs offered to narrow the scope of the Subpoena in light of Yiannopoulos’ representation




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that he possessed and would produce responsive materials.                         Yiannopoulos has waived any

objection to the Subpoena. 9

II.      Yiannopoulos’ (Untimely) Excuses for Non-Compliance Are Meritless

         As documented above, in his communications with the plaintiffs’ counsel, Yiannopoulos

has made reference to three potential objections to the Subpoena: (i) he has no responsive material;

(ii) the material he has is protected by New York’s “journalistic privilege”; and (iii) he is choosing

to exclusively give the documents to law enforcement.                    Each supposed objection—apart from

being waived—has no merit.

              a. Yiannopoulos Has Responsive Materials

         This Court should reject Yiannopoulos’ plainly contrived contention that he is not in

possession of materials that fall within the scope of the Subpoena. To start, as described above,

Yiannopoulos publicly released responsive material on November 3, 2019, bragged on the internet

a month later that the recording was “but one in a large catalogue of things that I have about

Richard Spencer,” noted that he has a “lot of crap on Richard Spencer and everybody else,” Ex.

10 at 4:10, and then told the plaintiffs’ counsel on December 18, 2019 that he has between twenty

to thirty relevant audio recordings sitting on a hard drive in his home, certain of which depict

planning sessions for UTR, see Bloch Decl. ¶ 14. And (after stating on February 12, 2020 that he

supposedly has no responsive material), Yiannopoulos then proved that his boasting to the public

and to the plaintiffs’ counsel was no idle chatter. Specifically, on April 6, 2020, Yiannopoulos

publicly released on YouTube a March 13, 2017 video depicting events taking place in



9
  To be sure, the “failure to serve written objections to a subpoena within the time specified by Rule 45[(d)](2)(B) . . .
may be forgiven in unusual circumstances and for good cause.” Homeward Res., Inc. v. Sand Canyon Corp., No. 12-
cv-5067, 2017 WL 4676806, at *17 (S.D.N.Y. Oct. 17, 2017) (quotation marks omitted). But Yiannopoulos has
identified no “unusual circumstances,” or any circumstances, excusing his failure to timely object to the Subpoena,
nor are any apparent.

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Charlottesville at what the plaintiffs’ complaint described was a precursor event to UTR and thus

plainly relevant to it.   See SAC ¶¶ 49-54.        What’s more, the April 6, 2020 material that

Yiannopoulos released, i.e., a video of Spencer giving the Nazi salute, matched the description of

a video that Yiannopoulos claimed that he possessed on December 18, 2019 (which Yiannopoulos

conceded was responsive to the Subpoena). See Ex. 17; Bloch Decl. ¶ 14. And for the avoidance

of doubt, Yiannopoulos acknowledged after the April 6, 2020 release that—consistent with the

above representations—he had “[m]uch, much more.” Ex. 17; see also Ex. 18 (making a similar

representation on June 13, 2020 with reference to this litigation). The notion that Yiannopoulos

has no responsive material is fanciful.

           b. Yiannopoulos Cannot Hide Behind a “Journalistic Privilege”

       On February 12, 2020, Yiannopoulos for the first time asserted without elaboration that he

is “asserting journalistic privilege, which enjoys broad protection in the state of New York.” Ex.

15. Yiannopoulos did not clarify whether he is asserting such a privilege under the federal

common law as applied by federal courts in New York, see Chevron Corp. v. Berlinger, 629 F.3d

297, 306-08 (2d Cir. 2011), or rather the journalist’s privilege codified at N.Y. Civ. Rights Law §

79-h, known as New York’s “Shield Law,” People v. Combest, 828 N.E.2d 583, 585-86 (N.Y.

2005). Regardless, Yiannopoulos can seek refuge in neither privilege. Apart from waiving the

right to assert any such privilege by failing to timely invoke it, see supra at 14, Yiannopoulos’

claim of privilege fails for additional reasons: (i) he failed to comply with Fed. R. Civ. P. 45(e)(2),

which governs how a subpoena recipient must make a claim of privilege; and (ii) he is not entitled

to invoke either privilege, and even if he were, both are limited and qualified privileges that the

plaintiffs can easily overcome.




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                    i. Yiannopoulos Failed to Comply with the Federal Rules as to Claims of
                       Privilege

       Yiannopoulos’ assertion of any “journalistic privilege” fails at the outset because

Yiannopoulos not only waived the objection, see supra at 14, he did not comply with important

rules governing the withholding of discovery on the basis of privilege. Specifically, Fed. R. Civ.

P. 45(e)(2) provides that a “person withholding subpoenaed information under a claim that it is

privileged . . . must . . . (i) expressly state the claim; and (ii) describe the nature of the withheld

documents, communications, or tangible things in a manner that, without revealing information

itself privileged or protected, will enable the parties to assess the claim” (emphasis added). And

indeed, the rule specifically “deters parties from asserting the [journalist’s] privilege haphazardly,”

and thus requires the party invoking the privilege “to identify the material in question with

specificity to demonstrate that it relates to newsgathering.” Am. Savings Bank, FSB v. UBS

Painwebber, Inc., No. M8-85, 2002 WL 31833223, at *1-2 (S.D.N.Y. Dec. 16, 2002).

       Here, Yiannopoulos invoked the “journalistic privilege” in a single and conclusory

sentence with no explanation. See Ex. 15. He has therefore not “enable[d] [the plaintiffs] to assess

the claim.” Fed. R. Civ. P. 45(e)(2). Indeed, a party invoking either the federal common law or

New York journalist’s privilege bears the burden of establishing the factors going to its

applicability. See Chevron Corp., 629 F.3d at 309 (“the burden is on the person who claims the

privilege to show entitlement”); PPM Am., Inc. v. Marriott Corp., 152 F.R.D. 32, 35 (S.D.N.Y.

1993) (the party asserting New York’s Shield Law has the “burden of demonstrating its entitlement

to the protections of Section 79-h”); see also Trussell-Slutsky v. McIlmurray, No. 031137/2017,

2018 WL 7569367, at *7 (Sup. Ct. N.Y. Cnty. Oct. 11, 2018) (“In applying the Shield Law, courts

[s]trictly construe the qualifying conditions for invoking its protections, because the Shield Law

operates as an exception to the generally liberal search for truth that is at the heart of . . .


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discovery.”). Without knowing the basis on which Yiannopoulos believes he is entitled to the

protection of a journalist’s privilege, or even which journalist’s privilege Yiannopoulos purports

to invoke, the plaintiffs simply cannot adequately assess the privilege claim. The Court should

reject Yiannopoulos’ invocation of a “journalistic privilege” on this basis alone.

                   ii. New York’s “Shield Law” Offers No Protection to Yiannopoulos

       Yiannopoulos’ vague reference to the “journalistic privilege” offering “broad protection in

the state of New York” was seemingly a reference to § 79-h of New York’s Civil Rights Law,

known as New York’s “Shield Law,” which exempts “professional journalists and newscasters”

from being held in contempt for certain non-disclosures of news-related information. But New

York’s Shield Law offers no protection to Yiannopoulos, for several independent reasons.

       First, New York’s Shield Law does not apply where, as here, the relevant conduct took

place outside of New York. See Stephens v. Am. Home Assur. Co., No. 91-cv-2898, 1995 WL

230333, at *5-7 (S.D.N.Y. Apr. 17, 1995); see also Mazzella v. Phila. Newspapers, Inc., 479 F.

Supp. 523, 527 (E.D.N.Y. Nov. 2, 1979) (applying Pennsylvania’s shield law under New York

conflict principles where the “events that led to the newspaper article, including the news gathering

and confidential communications, apparently occurred in Pennsylvania”); Pugh v. Avis Rent A Car

System, Inc., No. M8-85, 1997 WL 669876, at *3 n.2 (S.D.N.Y. Oct. 28, 1997) (“The federal

common law of privilege, rather than the New York State Shield Law, N.Y. Civ. Rights Law § 79-

h, applies to this motion because the underlying [civil rights] lawsuit involves a claim under federal

common law.”); Holmes v. Winter, 3 N.E.3d 694, 704 (N.Y. 2013) (noting that although “there are

uncertainties concerning the application of the outer reaches of our statute, . . . the scope of the

qualified privilege for nonconfidential news . . . must be determined on a case-by-case basis”).

Yiannopoulos offers no basis why New York’s Shield Law should protect materials seemingly



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created in Virginia, depicting events happening in Virginia, that are relevant to a lawsuit brought

by Virginia residents in a federal court in Virginia, against defendants who are residents either of

Virginia or states other than New York, and that relates to events that also happened in Virginia.

        Second, regardless, § 79-h offers no protection to Yiannopoulos because “only

‘professional journalists or newscasters’ as defined in the Press Shield Law can assert the

privilege.” Torah Soft Ltd. v. Drosnin, No. 00-cv-0676, 2001 WL 1425381, at *5 (S.D.N.Y. Nov.

14, 2001) (emphasis added); see also Persky v. Yeshiva Univ., No. 01-cv-5278, 2002 WL

31769704, at *2 n.1 (S.D.N.Y. Dec. 10, 2002) (“The New York Shield Law explicitly limits the

qualified privilege to professional journalists or newscasters.”); People v. Le Grand, 415 N.Y.S.2d

252, 255 (2d Dep’t 1979) (the law “evince[s] a clear legislative design to benefit ‘professional

journalists’ and ‘newscasters’ only. They should not by judicial fiat and strained interpretation be

deemed to encompass those engaged in a different field of writing and research”); PPM Am., Inc.,

152 F.R.D. at 35 (rejecting the privilege where respondent had “not born its burden of

demonstrating that these analysts are ‘professional journalists’ within the terms of Section 79-h”).

        Yiannopoulos has made no showing that he is a “Professional journalist” as contemplated

under § 79-h. 10 See Trussell-Slutsky v. McIlmurray, No. 031137/2017, 2018 WL 7569367, at *13-

14 & n.1 (Sup. Ct. N.Y. Cnty. Oct. 11, 2018) (concluding that a defendant failed to meet her

“threshold burden to demonstrate that [she is a] journalist[] under the Shield Law” where she failed

to make the requisite evidentiary showing, other than the “entirely bald and self-serving”

contention that she was a “professional journalist”).               Nor could he.        Section 79-h defines

“professional journalist” to encompass work only “intended for a newspaper, magazine, news



10
   Yiannopoulos is plainly not a “newscaster” because that term applies only to those “who, for gain or livelihood,
[are] engaged in analyzing, commenting on or broadcasting news by radio or television transmission.” N.Y. Civ.
Rights L. § 79-h(a)(6) (emphasis added).

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agency, press association or wire service or other professional medium or agency which has as one

of its regular functions the processing and researching of news intended for dissemination to the

public.” N.Y. Civ. Rights L. § 79-h(a)(6). Here, Yiannopoulos’ connection to a “conservative

streaming site” notwithstanding, see supra at 5 n.3, Yiannopoulos’ role in disseminating the

materials relevant to the Subpoena was not connected to a professional news medium or agency

as contemplated in § 79-h. Indeed, Yiannopoulos has previously commented upon and released

the responsive material on his myriad personal social media channels, which are means of

dissemination that the Shield Law does not reach. 11 See Too Much Media, LLC v. Hale, 20 A.3d

364, 382 (N.J. 2011) (applying New Jersey’s shield law to an independent blogger by contrasting

with New York’s Shield Law, which applies “only to ‘professional journalists and newscasters,”

and noting that the New Jersey “Legislature could have chosen [New York’s] approach but did

not”). Yiannopoulos is thus not and has not been acting as a “professional journalist” that would

be entitled to the protection of § 79-h.

        Third, § 79-h, by its terms, provides that a person waives the exemption where “such person

voluntarily discloses or consents to disclosure of the specific information sought to be disclosed

to any person not otherwise entitled to claim the exemptions.” N.Y. Civ. Rights L. § 79-h(g).

Here, as quoted above, Yiannopoulos has made plain that he intends to release the purportedly

privileged information “slowly and excruciatingly . . . over the next decade,” Ex. 10 at 4:20, and

he has already begun doing so. Because he has released, and will release, the responsive material,

he cannot claim the protection of § 79-h.




11
   Indeed, in 2009, New York lawmakers proposed a bill to broaden the definition of “Professional journalist” to
include “journalist bloggers,” see https://cityroom.blogs.nytimes.com/2009/05/20/bill-would-extend-shield-law-to-
cover-bloggers, but the bill has never passed, see https://www.nysenate.gov/legislation/bills/2019/S431.

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         Finally, even if Yiannopoulos could invoke the privilege (which he cannot), the plaintiffs

would easily overcome it. Where, as here, there is no credible claim that the material is

confidential, 12 a party can overcome an assertion of the Shield Law by making a “clear and specific

showing” that the information is “(i) highly material and relevant; (ii) is critical or necessary to the

maintenance of a party’s claim, defense or proof of an issue material thereto; and (iii) is not

obtainable from any alternative source.” People v. Bonie, 35 N.Y.S.3d 53, 55 (1st Dep’t 2016)

(quoting N.Y. Civ. Rights L. § 79-h(c)). Yiannopoulos’ own representations—as well as the

material that he has already released—prove the satisfaction of each of the above three elements.

         1.       As Yiannopoulos has himself effectively acknowledged, the material he possesses

is “highly material and relevant.” As he described it, the audio he released on November 3, 2019,

see Ex. 5, “shows [defendant Spencer] fuming after the death of Charlottesville counter-protester

Heather Heyer,” and Yiannopoulos notes that the “audio was recorded in Charlottesville at an

‘emergency meeting’ Spencer assembled immediately after he learned of [the] death.” Ex. 4.

Further, in the recording, as Yiannopoulos also acknowledges, Spencer “is heard raging against

Jews and Blacks,” and referring to “[l]ittle fucking kikes” and “[l]ittle fucking octaroons.” Ex. 4.

Finally, Yiannopoulos later confirmed that several co-defendants were present for the recorded

event, including Kline. See Bloch Decl. ¶ 14.c. Spencer’s description of the events that took place

at UTR, to a group that included other leading co-defendants, and in which Spencer made plain

his status-based animus, are certainly highly material and relevant to the plaintiffs’ claims.


12
    Yiannopoulos cannot credibly claim that any of the information sought by the Subpoena is confidential—indeed
Yiannopoulos has already publicly released certain of the materials responsive to the Subpoena, promised to release
“[m]uch, much more,” and has specifically acknowledged that he will be publicly releasing the “large catalog of things
. . . over the next decade.” Exs. 10, 17. Consequently, in light of his promise to release all of this material at some
point (and that he has already released some of it), Yiannopoulos cannot show that the information was “obtained or
received in confidence.” See N.Y. Civ. Rights L. § 79-h(c). And it is irrelevant whether Yiannopoulos wants to
maintain the confidence of his source, because the question is whether the “news” was “obtained or received in
confidence.” Id.

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        The recording Yiannopoulos released on April 6, 2020 of Spencer with defendants Kline

and Heimbach (and others) depicting them at a May 13, 2017 rally in Charlottesville is much the

same. See Ex. 16. As the plaintiffs’ complaint makes clear, the May 13, 2017 event depicted on

the recording that Yiannopoulos released was directly related to UTR. See SAC ¶¶ 49-54. Indeed,

the complaint makes plain that the May 13, 2017 event, which was attended by several defendants,

was a precursor to UTR and was referred to as “Charlottesville 1.0,” with “Charlottesville 2.0”

being UTR. Id. Moreover, defendant Jason Kessler filed a municipal application for a permit to

hold the UTR on May 30, 2017, just two weeks after Charlottesville 1.0. Id. ¶ 54.

        And Yiannopoulos has repeatedly and specifically represented that the materials that he

has yet to produce are similar in nature. For one, his initial reaction to the Subpoena was that after

“look[ing] at the basis for the lawsuit,” he could “help [the plaintiffs] more than [they] might

realize.” Ex. 11 (emphasis added). And not only has Yiannopoulos publicly stated that what he

has released is part of “a large catalogue of things,” that he has a “lot of crap on Richard Spencer

and everybody else,” Ex. 10 at 4:10–5:10, and that there is “[m]uch, much more,” Ex. 17; see also

Ex. 18, he also specifically told the plaintiffs’ counsel that he has twenty to thirty recordings, at

least a number of which directly relate to planning sessions for UTR in which the recorded

participants were spoiling for a fight. See Bloch Decl. ¶ 14.a.

        2.      The recordings contain information that is critical to the plaintiffs’ claims and the

issues that the plaintiffs will have to prove at trial. As discussed, the plaintiffs must show that each

of the defendants conspired with another to engage in violence against others motivated by a class-

based animus. Although the defendants are likely to argue at trial, as, for example, Spencer

previously has, see Ex. 6, that they had no intent to commit class-based violence, the recordings

Yiannopoulos has already publicly released refute those very defenses. They show, for example,



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Spencer in a leadership role at UTR—and its precursor event months earlier—blaming “[l]ittle

fucking kikes” and “[l]ittle fucking octaroons” for the death caused by his own co-conspirator, and

promising to come back and “destroy this town.” Ex. 5. Moreover, the material that Yiannopoulos

has not yet produced—but that he has described to the plaintiffs’ counsel—is even more critical,

in that it describes not just the defendants’ after-the-fact reactions to events at UTR, but planning

sessions for the event, which will go directly to the defendants’ intent on organizing and attending

UTR, see Bloch Decl. ¶ 14.a., which are to be critical issues at trial.

       3.      Finally, all indications are that Yiannopoulos is in exclusive possession of the

material sought by the Subpoena. Indeed, Yiannopoulos represented as such when he gleefully

described that the material is secured away on his “Vault,” and that he will be “slowly and

excruciatingly dripping [it] out over the next decade.” Ex. 10 at 4:23. Further, throughout a

lengthy and robust discovery process, the plaintiffs have gotten no indication that any other person

is in possession of the material supposedly on Yiannopoulos’ “Vault.”

                  iii. The First Amendment/Common Law Journalist’s Privilege Also Offers
                       No Protection to Yiannopoulos

       To the extent Yiannopoulos’ reference to a New York journalistic privilege was meant to

invoke the “qualified reporter’s privilege, based in the First Amendment and federal common law,”

Schoolcraft v. City of New York, No. 10-cv-6005, 2014 WL 1621480, at *2 (S.D.N.Y. Apr. 22,

2014), the claim also fails.

       First, similar to New York’s Shield Law, Yiannopoulos simply is not entitled to invoke the

First Amendment/common law journalist’s privilege because the privilege is only available to

individuals acting as “independent press.” Chevron Corp. v. Berlinger, 629 F.3d 297, 307 (2d Cir.

2011) (emphasis in original). Indeed, “any discussion of the reporter’s privilege begins with an

inquiry into whether a journalist can first establish entitlement to the privilege by demonstrating


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the independence of her journalistic process.” In re McCray, Richardson, Santana, Wise, and

Salaam Litig., 928 F. Supp. 2d 748, 754 (S.D.N.Y. 2013); see also Chevron, 629 F.3d at 309 (as a

general matter, the journalist’s privilege applies only where the “research and reporting were done

with independence from the subject of the reporting”); see also id. at 308 (“Jones, who was

commissioned to write a book promoting a particular point of view regardless of what her

investigations may reveal, either possesses no privilege at all, or if she possesses the privilege,

holds one that is weaker and more easily overcome.”). Indeed, it is an “improper invocation” of

the privilege “where the information was gathered for other reasons and the intent to publish arose

only later.” Id. at 307.

        Here, Yiannopoulos was not acting as an independent member of the press when he

collected (and then partially released) the material responsive to the Subpoena.                 Indeed,

Yiannopoulos has admitted that his aim for the materials is unrelated to independent newsgathering

or dissemination but rather to settle a personal “grudge” that he has developed against Spencer and

his co-conspirators. These are Yiannopoulos’ own words:

                The audio that I dropped of [Spencer] screaming and ranting about
                the consequences to him of [Heather Heyer’s] death is but one in a
                large catalog of things that I have about Richard Spencer which I
                will be slowly and excruciatingly dripping out over the next decade.
                I have never met a grudge I don’t like.

Ex. 10 at 4:08–4:32 (emphasis added). It is thus plain that Yiannopoulos’ “purpose to disseminate

the information [did not] motivate[] the gathering of the information,” rather, “the information was

gathered for other reasons,” i.e., to use as leverage to settle his “grudge” against Spencer. Chevron,

629 F.3d at 307. This is not the type of activity that the journalist’s privilege is designed to protect.

         Second, even if the privilege were to apply (it does not), the plaintiffs would overcome it

even more easily than they would New York’s Shield Law. As with the Shield Law, the common

law journalists’ privilege distinguishes between confidential and non-confidential material and
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offers less protection for the latter. See Gonzales v. Nat’l Broad. Co., 194 F.3d 29, 30 (2d Cir.

1999). Specifically, “where nonconfidential information is at stake, the showing needed to

overcome the [] privilege is less demanding than for material acquired in confidence.” Id.

Similarly, “where the protection of confidential sources is not involved, the nature of the press

interest protected by the privilege is narrower.” Id. Consequently, to overcome Yiannopoulos’

assertion of the common law privilege over the non-confidential materials in his possession, the

Movants need only show that they are (i) “of likely relevance to a significant issue in the case”

and (ii) “not reasonably obtainable from other available sources.” Id. at 36. And for the reasons

already discussed above with respect to the Shield Law, see supra at 21-23, plaintiffs can easily

make that showing here, i.e., that the materials in Yiannopoulos’ possession are highly relevant to

key issues in the case and are not obtainable from any other source.

           c. Yiannopoulos Cannot Use His Supposed Interaction with Law Enforcement
              as a Shield Against Production

       Yiannopoulos has intimated that he cannot comply with the Subpoena because he is

“compelled” to provide the documents “exclusively” to unidentified law enforcement agencies.

Exs. 14, 15. Specifically, on January 25, 2020, Yiannopoulos noted that the FBI “desire[s] to

acquire them exclusively,” and that he is “obliged to prioritize federal law enforcement over your

civil action.” Ex. 14. And days later, he similarly represented that he is “compelled to give

deference, priority, and in most cases exclusivity” to “the law enforcement agenc(y/ies) to which

[he] previously alluded.” Ex. 15. (Notably, he did not raise this as a ground for withholding

production in his February 12, 2020 email in response to the plaintiffs’ counsel’s request for any

and all objections to the Subpoena, see Ex. 15, meaning the objection is doubly waived.)

       Yiannopoulos’ (untimely and procedurally improper) invocation of a supposed compulsion

to give the materials exclusively to unidentified law enforcement “agenc(y/ies)” provides no basis


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in law not to comply with the Subpoena. To be sure, there is a limited and qualified “law

enforcement privilege,” which is “designed ‘to prevent disclosure of law enforcement techniques

and procedures, to preserve the confidentiality of sources, to protect witness and law enforcement

personnel, to safeguard the privacy of individuals involved in an investigation, and otherwise to

prevent interference with an investigation.’” U.S. v. Painting Known as “Le Marche”, No. 06-cv-

12994, 2008 WL 2600659, at *1 (S.D.N.Y. June 25, 2008). But, the law enforcement privilege

“belongs to the Government and must be asserted by it.” Id. (quoting U.S. v. Reynolds, 345 U.S.

1, 7 (1953)); see also Carbajal v. Village of Hempstead, No. 02-cv-4270, 2003 WL 23138447, at

*1 (E.D.N.Y. Dec. 22, 2003) (discussing the “informer’s privilege,” but noting that “the privilege

actually belongs to the government”). There simply is no basis for Yiannopoulos, the recipient of

a duly issued subpoena in a civil litigation, to assert the law enforcement privilege.

                                         CONCLUSION

       In light of the foregoing, Movants respectfully request that this Court issue an order

compelling Yiannopoulos to produce all information responsive to the Subpoena, and for any other

relief that the Court deems necessary and appropriate.



 Dated: June 25, 2020                              Respectfully submitted,

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